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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     §
    In re:                                                           §     Chapter 11
                                                                     §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                          §     Case No. 20-33233 (DRJ)
                                                                     §
                                      Debtors.                       §     (Joint Administration Requested)
                                                                     §     (Emergency Hearing Requested)

            DEBTORS’ WITNESS AND EXHIBIT LIST FOR HEARING
     SCHEDULED FOR JUNE 29, 2020, AT 2:30 P.M. (PREVAILING CENTRAL TIME)

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

their amended Witness and Exhibit List for the hearing to be held on June 29, 2020, at 2:30 p.m.

(prevailing Central Time) (the “Hearing”) as follows:

                                                  WITNESSES

             The Debtors may call the following witnesses at the Hearing:

                    1.      Domenic J. Dell’Osso, Jr., Executive Vice President and Chief Financial
                            Officer of Chesapeake Energy Corporation;

                    2.      Stephen Antinelli, Managing Director and Co-Head of Restructuring at
                            Rothschild & Co.;

                    3.      Any witness listed by any other party;

                    4.      Rebuttal witnesses as necessary; and

                    5.      The Debtors reserve the right to cross-examine any witness called by any
                            other party.




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
      Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
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 EXHIBIT                                      EXHIBITS




                                                                        OBJECT

                                                                                 ADMIT
                                                                OFFER
                                                         MARK




                                                                                         W/D
                                                                                               DISPOSITION
                          DESCRIPTION
                                                                                               AFTER TRIAL


    1          Declaration of Domenic J. Dell’Osso,
               Jr., Executive Vice President and
               Chief Financial Officer of
               Chesapeake Energy Corporation in
               Support of Chapter 11 Petitions and
               First Day Motions [Docket No. 37]
    2          Declaration of Stephen Antinelli In
               Support of the Debtors’ Emergency
               Motion for Entry of Interim and Final
               Orders (I) Authorizing the Debtors to
               Obtain Postpetition Financing, (II)
               Authorizing the Debtors to Use Cash
               Collateral, (III) Granting Liens and
               Providing Claims with Superpriority
               Administrative Expense Status,
               (IV) Granting Adequate Protection to
               the Existing Secured Parties, (V)
               Modifying the Automatic Stay, (VI)
               Scheduling a Final Hearing, and (VII)
               Granting Related Relief [Docket No.
               22, Exhibit A]
               Any document or pleading filed in
               the above-captioned main cases
               Any exhibit necessary for
               impeachment and/or rebuttal
               purposes
               Any exhibit identified or offered by
               any other party


                                    RESERVATION OF RIGHTS

           The Debtors reserve the right to call or to introduce one or more, or none, of the witnesses

and exhibits listed above, and further reserve the right to supplement this list prior to hearing.
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Houston, Texas
June 28, 2020

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                        KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)      Patrick J. Nash, Jr., P.C. (pro hac vice pending)
Kristhy M. Peguero (TX Bar No. 24102776)     Marc Kieselstein, P.C. (pro hac vice pending)
Veronica A. Polnick (TX Bar No. 24079148)    Alexandra Schwarzman (pro hac vice pending)
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                kpeguero@jw.com                            alexandra.schwarzman@kirkland.com
                vpolnick@jw.com

Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
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                                     Certificate of Service

        I certify that on June 28, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
